Case 5:24-cv-12647-JEL-KGA ECF No. 61, PageID.1298 Filed 12/16/24 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




Derrick Lee Cardello−Smith,

                                   Plaintiff(s),
v.                                                     Case No. 5:24−cv−12647−JEL−KGA
                                                       Hon. Judith E. Levy
Sean Combs,

                                   Defendant(s),



                          NOTICE OF DETERMINATION OF MOTION
                               WITHOUT ORAL ARGUMENT

     The following motion(s) have been filed:

                Motion for Leave to Appeal − #45
                Motion for Leave to File − #57
   Pursuant to Eastern District of Michigan LR 7.1(f)(2), the motion(s) will be determined by
District Judge Judith E. Levy without oral argument.

   Response and reply briefs shall be filed in accordance with Eastern District of Michigan LR
7.1(e).

     Courtesy copies are not required.




                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                                By: s/W. Barkholz
                                                    Case Manager

Dated: December 16, 2024
